Case 2:97-cr-20061-SHI\/| Document 21 Filed 06/08/05 Page 1 of 2 Page|D 20

mo m;__';§’_ __,.1__0.<;

UNITED STATES DISTRICT COUREbSJUN

"8 AH 9: 28
\HE§;.“!rH,
Robert R. Di Trol:|.o w t 3 UET. 1200
Clerk of Court E`ax ') C`F TN, ll-§Elrr£§[;&lZSO
Jackson 901- 427- 6586
FBX 901-427-9210

DATE: June 8, 2005
NOTICE TO ALL PARTIES

RE: CRIMINAL CASE NO. 2:97Cr2006l-M1/A
UNITED STATES OF AMERICA ve. Billy T. Severance

RULE 20 (Consent to Transfer of Case for Plea and
Sentence)

XX RULE 40 TRANSFER

Documents, arrest warrant executed, affidavit re: out-of~district warrant,
minutes of report commencing criminal action, Initial appearance hearing
minutes, Commitment and warrant of removal, Financial affidavit (sealed),
Order of detention, Waiver of rights, Government's notice of request for
detention, as to the above-named defendant, have been received from the
United Statea District Court, Central District of California, Western
Division. Please refer to document #20 in the case record.

Sincerely,

ROBERT R. Di TROLIO,
Clerk of Court

1@11/111/

/De;zjaty cleFrk

cc: Mag. S. Thomas Anderson
Casemanager

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:97-CR-20061 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

Joseph C. Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

